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                          IN THE UNITED STATES DISTRICT COURT                            FILED
                           FOR THE WESTERN DISTRICT OF TEXAS
                                  SAN ANTONIO DIVISION                                 MAR 27           2019


TEXAS LEAGUE OF UNITED LATIN                                                         CLERK,   U.   .   DSTRCT CLERK
AMERICAN CITIZENS, ET AL.,

        Plaintiffs,

V.                                                           CIVIL ACTION NO. SA-19-CA-074-FB

DAVID WHITLEY, in his Official Capacity
as Secretary of State for the State of Texas;
ETAL.,

        Defendants.

                                      ORDER AND ADVISORY

        Before the Court is the motion to dismiss (docket no. 81) alleging that the counties only act upon

the direction of the Secretary of State, following what the counties perceive to be orders. On the other

hand, the Secretary of State has consistently taken the position that his statutory authority is limited to

advisories to county election officials. If either interpretation is accepted, the county administrators are

those who would send what plaintiffs assert are inaccurate correspondence leading to improper

intimidation of eligible voters. Accordingly, the 12(b)(6) motion to dismiss (docket no. 81) is DENIED.

        The Court is sympathetic to the counties' concerns about the extraordinary, and in the Court's

opinion unnecessary, expense and time caused by the flawed program executed by the Secretary of State's

office. Accordingly, the Court would be open to a proposal from the county defendants agreeing not to

send notice of examination letters without conclusive evidence that the recipient is indeed a non-citizen

registered voter based on an investigation that does not include contact with the individual. Were such

a proposal forthcoming, the Court would reconsider whether the counties need to continue being a party

to this lawsuit.

        It is so ORDERED.

        SIGNED this         7    day of March, 2019.




                                                IRED BIERY
                                                UNITED STATES D              CT JUDGE
